

Nelson A. v Krone (2020 NY Slip Op 04634)





Nelson A. v Krone


2020 NY Slip Op 04634


Decided on August 20, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 20, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


108 CA 19-00755

[*1]NELSON A., AS ADMINISTRATOR OF THE ESTATE OF LUIS A. A.-S., ALSO KNOWN AS LUIS A., SR., PLAINTIFF-RESPONDENT,
vERIC J. KRONE, DEFENDANT-APPELLANT. (APPEAL NO. 4.) 






LETITIA JAMES, ATTORNEY GENERAL, ALBANY (ROBERT M. GOLDFARB OF COUNSEL), FOR DEFENDANT-APPELLANT.
SCHNITTER CICCARELLI MILLS, PLLC, WILLIAMSVILLE (RYAN J. MILLS OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Frederick J. Marshall, J.), entered April 4, 2019. The judgment adjudged that defendant acted with reckless disregard for the safety of others and that he is 35% liable for the subject collision. 
It is hereby ORDERED that the judgment so appealed from is reversed on the law without costs and the complaint is dismissed.
Same memorandum as in Alexandra R. v Krone ([appeal No. 1] — AD3d — [Aug. 20, 2020] [4th Dept 2020]).
All concur except Nemoyer and Curran, JJ., who dissent and vote to affirm in the same dissenting memorandum as in Alexandra R. v Krone ([appeal No. 1] — AD3d — [Aug. 20, 2020] [4th Dept 2020]).
Entered: August 20, 2020
Mark W. Bennett
Clerk of the Court








